         Case 8:18-ap-01076-CB                   Doc 4 Filed 06/27/18 Entered 06/27/18 13:53:06                                     Desc
                                                  Main Document    Page 1 of 5

 Attorney or Party Name, Address, Telephone & FAX                         FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
WEILAND GOLDEN GOODRICH LLP
Jeffrey I. Golden, State Bar No. 133040
jgolden@wgllp.com
Faye C. Rasch, State Bar No. 253838
frasch@wgllp.com
650 Town Center Drive, Suite 950
Costa Mesa, CA 92626
Telephone: (714) 966-1000
Facsimile: (714) 966-1004




     Individual appearing without attorney
     Attorney for: Thomas H. Casey, Chapter 7 Trustee

                                     UNITED STATES BANKRUPTCY COURT
                       CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION                                       DIVISION

In re:
                                                                          CASE NO.:               8:16-bk-15156-CB
770 STRADELLA, LLC, a Delaware limited liability
company,                                                                  ADVERSARY NO.: 8:18-ap-01076-CB

                                                                          CHAPTER:                7
                                                           Debtor(s).
                                                                                                  UNILATERAL
THOMAS H. CASEY, Chapter 7 Trustee of the Estate of                                         JOINT STATUS REPORT
779 Stradella, LLC,                                                                            [LBR 7016-1(a)(2)]

                                                                          DATE:                 07/10/2018
                                                          Plaintiff(s).
                                                                          TIME:                 1:30 p.m.
                                 vs.                                      COURTROOM:            5D
PAUL J. MANAFORT, an individual,                                          ADDRESS:              411 W. Fourth Street
                                                                                                Santa Ana, CA 92701


                                                      Defendant(s).


The parties submit the following JOINT STATUS REPORT in accordance with LBR 7016-1(a)(2):

A. PLEADINGS/SERVICE:
    1. Have all parties been served with the complaint/counterclaim/cross-claim, etc.                                        Yes              No
       (Claims Documents)?
    2. Have all parties filed and served answers to the Claims Documents?                                                    Yes          No
    3. Have all motions addressed to the Claims Documents been resolved?                                                     Yes          No
    4. Have counsel met and conferred in compliance with LBR 7026-1?                                                         Yes          No




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2015                                                        Page 1                                        F 7016-1.STATUS.REPORT
         Case 8:18-ap-01076-CB                   Doc 4 Filed 06/27/18 Entered 06/27/18 13:53:06                                     Desc
                                                  Main Document    Page 2 of 5
    5. If your answer to any of the four preceding questions is anything other than an unqualified “YES,” please
       explain below (or on attached page):
       The parties have reached a settlement and will be submitting the documentation to the Court shortly.




B. READINESS FOR TRIAL:

    1.      When will you be ready for trial in this case?
                                Plaintiff                                                           Defendant




    2. If your answer to the above is more than 4 months after the summons issued in this case, give reasons for further
       delay.
                                Plaintiff                                     Defendant




    3. When do you expect to complete your discovery efforts?
                              Plaintiff                                                             Defendant




    4. What additional discovery do you require to prepare for trial?
                               Plaintiff                                                            Defendant




C. TRIAL TIME:

    1. What is your estimate of the time required to present your side of the case at trial (including rebuttal stage if
       applicable)?
                               Plaintiff                                         Defendant




    2. How many witnesses do you intend to call at trial (including opposing parties)?
                            Plaintiff                                            Defendant




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2015                                                        Page 2                                        F 7016-1.STATUS.REPORT
         Case 8:18-ap-01076-CB                   Doc 4 Filed 06/27/18 Entered 06/27/18 13:53:06                                     Desc
                                                  Main Document    Page 3 of 5
    3. How many exhibits do you anticipate using at trial?
                             Plaintiff                                                              Defendant




D. PRETRIAL CONFERENCE:

    A pretrial conference is usually conducted between a week to a month before trial, at which time a pretrial order will
    be signed by the court. [See LBR 7016-1.] If you believe that a pre-trial conference is not necessary or appropriate in
    this case, please so note below, stating your reasons:

                               Plaintiff                                                                 Defendant
     Pretrial conference         is      is not requested                     Pretrial conference         is    is not requested
     Reasons:                                                                 Reasons:




                             Plaintiff                                                               Defendant
     Pretrial conference should be set after:                                 Pretrial conference should be set after:
     (date)                                                                   (date)


E. SETTLEMENT:

    1. What is the status of settlement efforts?




    2. Has this dispute been formally mediated?                        Yes             No
       If so, when?



    3. Do you want this matter sent to mediation at this time?

                                 Plaintiff                                                               Defendant

                                 Yes           No                                                        Yes           No




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2015                                                        Page 3                                        F 7016-1.STATUS.REPORT
          Case 8:18-ap-01076-CB                   Doc 4 Filed 06/27/18 Entered 06/27/18 13:53:06                                     Desc
                                                   Main Document    Page 4 of 5
F. FINAL JUDGMENT/ORDER:

     Any party who contests the bankruptcy court’s authority to enter a final judgment and/or order in this adversary
     proceeding must raise its objection below. Failure to select either box below may be deemed consent.

                             Plaintiff                                                                Defendant
          I do consent                                                             I do consent
          I do not consent                                                         I do not consent
      to the bankruptcy court’s entry of a final judgment                      to the bankruptcy court’s entry of a final judgment
      and/or order in this adversary proceeding.                               and/or order in this adversary proceeding.


G.   ADDITIONAL COMMENTS/RECOMMENDATIONS RE TRIAL: (Use additional page if necessary)




Respectfully submitted,

Date: 06/07/2018                                                                Date:

WEILAND GOLDEN GOODRICH LLP
__________________________________________                                      ___________________________________________
Printed name of law firm                                                        Printed name of law firm


 /s/ Faye C. Rasch
__________________________________________                                      ___________________________________________
Signature                                                                       Signature

 Faye C. Rasch
__________________________________________                                      ___________________________________________
Printed name                                                                    Printed name

               Thomas H. Casey, Chapter 7 Trustee
Attorney for: ________________________________                                  Attorney for: _________________________________




          This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2015                                                         Page 4                                        F 7016-1.STATUS.REPORT
Case 8:18-ap-01076-CB   Doc 4 Filed 06/27/18 Entered 06/27/18 13:53:06   Desc
                         Main Document    Page 5 of 5
